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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WILLIAM F. WALKER,           )
                             )
         Plaintiff           )
    v.                       )
                               Case No.: 10-CV-03907
                             )
NCO FINANCIAL SYSTEMS, INC., )
                             )
         Defendant           )
                             )

            DEFENDANT NCO FINANCIAL SYSTEMS, INC.’S FEDERAL
              RULE 7.1(a) CORPORATE DISCLOSURE STATEMENT

       NOW COMES the defendant, NCO Financial Systems, Inc. (NCO), through

undersigned counsel, and pursuant to Rule 7.1(a) and (b) of the Federal Rules of Civil

Procedure, hereby submits its Corporate Disclosure Statement and states as follows:

       1.      Fed. R. Civ. P. 7.1(a) provides: “A nongovernmental corporate party to an

action or proceeding in a district court must file two copies of a statement that identifies

any parent corporation and any publicly held corporation that owns 10% or more of its

stock or states that there is no such corporation.”

       2.      NCO Financial Systems, Inc., a Pennsylvania corporation, and NCO

Holdings, Inc., a Delaware corporation, are wholly owned by JDR Holdings, Inc., also a

Delaware corporation. JDR Holdings, Inc. is wholly owned by Compass International

Services Corporation, a Delaware corporation. All of the above-mentioned corporations

are wholly owned by NCO Group, Inc. NCO Group, Inc. is a privately held corporation

incorporated in Delaware.        Various corporate affiliates of Citigroup Inc. own
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approximately 7% of NCO Group, Inc. stock. One Equity Partners and its corporate

affiliates, which are affiliates of JP Morgan Chase & Co., own approximately 88% of

NCO Group, Inc. stock.


                                      Respectfully submitted,



Dated: September 7, 2010              /s/ Ross S. Enders
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                                      Systems, Inc.




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                            CERTIFICATE OF SERVICE

       I certify that on this 7th day of September, 2010, a copy of the foregoing Defendant

NCO Financial Systems, Inc.’s Corporate Disclosure Statement was filed electronically

in the ECF system. Notice of this filing will be sent to the parties of record by operation

of the Court’s electronic filing system, including plaintiffs’ counsel as described below.

Parties may access this filing through the Court’s system.


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                                   /s/ Ross S. Enders
                                   Attorney for Defendant NCO Financial Systems, Inc.




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